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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 11-20698-CR-SCOLA



   UNITED STATES OF AMERICA,

                  Plaintiff,

   vs.

   AIMAN IZZEDIN ARYAN,

                  Defendant.
                                                            /

   GLOBAL EXPRESS MONEY ORDERS, INC.,

                                 Petitioner,
                                                                /

   PHARMACY ONE, INC.,

                                 Petitioner,
                                                                /

   AMERISOURCEBERGEN DRUG CORPORATION, INC.,

                                 Petitioner,
                                                                    /


                                FINAL ORDER OF FORFEITURE

           THIS CAUSE COMES before the Court on the United States= agreed motion for entry of

   a Final Order of Forfeiture pursuant to Title 21, United States Code, Section 853(n) and Rule 32.2

   (c)(2) of the Federal Rules of Criminal Procedure, the petition of Global Express Money Order,

   Inc. (DE # 870), the petition of Pharmacy One, Inc. (DE #886), and the petition of

   AmerisourceBergen Drug Corporation (DE # 936). The Court has reviewed the United States’
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   motion and the petitions filed herein, and is otherwise duly advised in the premises. Upon review

   of the United States= motion and the petitions, upon review of the record in this matter and for good

   cause shown thereby, the Court finds that:

          1.        On May 21, 2012, this Court entered a Preliminary Order and Judgment of

   Forfeiture (DE # 694) (the “Aryan POF”), pursuant to Title 21, United States Code, Section 853

   and Title 18, United States Code, Section 982(2)(7), condemning and forfeiting all right, title and

   interest of defendant AIMAN IZZEDIN ARYAN in the following property to the United States

   of America:

          (a)       Approximately $129,070.50 in United States currency seized from Account

                    No. -3994 at Regions Bank, held in the name of RDS Pharmacy Management,

                    Inc. (“RB Acct. # 3994”);

          (b)       Approximately $181,095.47 in United States currency seized from Account

                    No. -6119 at Regions Bank, held in the name of Izz and Sons (“RB Acct. # 6119”);

          (c)       Approximately $102,445.83 in United States currency seized from Account

                    No. -0837 at Wells Fargo Bank, held in the name of Izz and Sons, Inc., dba

                    Robert’s Drug Store (“WFB Acct. # 0837”); and

          (d)       Approximately $1,467,285.71 in United States currency seized from Account

                    No. -6042 at Wells Fargo Bank, held in the name of Pharmacy One, Inc., dba

                    Robert’s Drug Store #3 (“WFB Acct. # 6042”).

          2.        Beginning on May 24, 2012, a notice of criminal forfeiture was posted on an

   official government internet site (www.forfeiture.gov) for a period of thirty (30) days, ending on

   June 22, 2012.

          3.        The Declaration of Publication of the Notice of Forfeiture was filed with the Clerk
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   of this Court on July 6, 2012 (DE # 795).

          4.      In addition to the published notice, the United States provided notice of the

   forfeiture to known potential claimants by certified mail, return receipt requested, as follows:

                  (a)     Izz and Sons, Inc.
                          Attn.: Izzedin Aryan
                          President and Director
                          590 W. Flagler Street
                          Miami, Florida 33130

                  (b)     Izz and Sons, Inc.
                          13400 SW 83rd Avenue
                          Pinecrest, Florida 33156

                  (c)     RDS Pharmacy Management, Inc.
                          111 NW 1st Street, No. 2460
                          Miami, Florida 33128

                  (d)     RDS Pharmacy Management, Inc.
                          Attn.: Any Officer or Director
                          590 W. Flagler Street
                          Miami, Florida 33130

                  (e)     Pharmacy One, Inc.
                          13400 SW 83rd Avenue
                          Pinecrest, Florida 33156

                  (f)     AmerisourceBergen Drug Corporation
                          c/o: Berger Singerman, Attorneys at Law
                          Attn.: James C. Cunningham, Jr., Esq.
                          200 S. Biscayne Blvd., Suite 1000
                          Miami, FL 33131

                  (g)     Global Express Money Orders, Inc.
                          c/o Ober Kaler, Attorneys at Law
                          Attn: Jeffrey S. Greenberg, Esquire
                          100 Light Street
                          Baltimore, Maryland 21202

                   (h)    Ashmed Yasar Al Asali
                          5518 SW 162nd Place
                          Miami, Florida 33185


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                  (i)     Izzedin A. Aryan
                          13400 SW 83rd Avenue
                          Pinecrest, Florida 33156

                  (j)     Inam Aryan
                          13400 SW 83rd Avenue
                          Pinecrest, Florida 33156

                  (k)     Eman Mohammed Aryan
                          13400 SW 83rd Avenue
                          Pinecrest, Florida 33156

                  (l)     Basel A. Asali
                          15481 SW 11th Terrace
                          Miami, Florida 33196

          5.      All persons known to the United States to have a legal interest in the property

   ordered forfeited have thereby been notified in accordance with Title 21, United States Code,

   Section 853(n)(1).

          6.      The published and direct written notices advised potential claimants of the right to

   petition the court for a hearing to adjudicate the validity of the claimed interest, if any, in the

   forfeited property.

          7.       Under the provisions of Title 21, United States Code, Section 853(n)(2), a person

   claiming an interest in the property at issue must file a petition with the Court, within thirty (30)

   days of the last date of publication of notice or receipt of actual notice, whichever is earlier.

          8.      Timely claims were filed herein as follows:

                  (i)     On August 7, 2012, pursuant to Title 21, United States Coed, Section

   853(n), Petitioner Global Express Money Orders, Inc. (“Global Express”) filed its Petition for

   Order Declaring Right, Title and Interest of Petitioner in $24,436.08 of Seized Funds Superior to

   the United States and Directing Release of Said Property to Petitioner (DE # 870). In its petition,

   Global Express asserted a legal interest, superior to that of the United States, in $24,436.08 of the

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   $181,095.47 seized from RB Acct. # 6119. Global Express asked the Court to amend the Aryan

   POF to recognize its interest. See DE # 870.

                (ii)      On August 7, 2012, Pharmacy One, Inc. d/b/a Robert’s Drug Store #3

   (“Pharmacy One”) filed its Petition Pursuant to 21 USC 853(n) To Amend the Court’s Preliminary

   Order and Judgment of Forfeiture (DE # 886). In its petition, Pharmacy One asserted a superior

   legal interest in all funds, totaling $1,467,285.71, seized from WFB Acct. # 6042. Pharmacy One

   asked the Court to amend the Aryan POF to allow Pharmacy One to reclaim title to the funds

   seized from Acct. # 6042. See DE # 886.

                (iii)     On August 16, 2012, pursuant to Title 21, United States Code, Section 853,

   AmerisourceBergen Drug Corporation (“AmerisourceBergen”) filed its Verified Petition for

   Ancillary Hearing in Support of Forfeiture Claim (DE # 936). In its petition, AmerisourceBergen

   asserted a priority, legal interest in all funds seized from the four accounts noted above.

   AmerisourceBergen asked the Court for a hearing to adjudicate the validity of its interest in the

   forfeited property, and to amend the Aryan POF to satisfy its security interest in each of the noted

   bank accounts. See DE # 936.

          9.      The time period for filing petitions has expired.

          10.     Except as noted above, no other third party has filed a petition for an ancillary

   hearing and the Court is not aware of any other parties having any interest in the property ordered

   forfeited by the Preliminary Order of Forfeiture identified herein above.

          11.     On September 15, 2012, Pharmacy One filed a Notice of Withdrawal of [Its]

   Petition. See DE # 1024. In light of Pharmacy One’s withdrawal of its petition, the United

   States has asked that Pharmacy One’s petition be denied as moot.

          12.     On December 5, 2012, the United States and AmerisourceBergen entered into a

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   Settlement Agreement, which is incorporated herein by reference, which resolves

   AmerisourceBergen’s asserted interest in the subject funds.         Pursuant to the Settlement

   Agreement between the United States and AmerisourceBergen, $400,000.00 of the funds seized

   from WFB Acct. # 6042 is to be released to AmerisourceBergen, or its authorized representative,

   in full and complete satisfaction of AmerisourceBergen’s claim. See “Settlement Agreement

   Regarding Petition of AmerisourceBergen Drug Corporation,” filed on December 6, 2012, at DE #

   1100.

           13.    On December 5, 2012, the United States and Global Express entered into a

   Settlement Agreement, which is incorporated herein by reference, which resolves Global Express’

   asserted interest in the funds seized from RB Acct. # 6119. Pursuant to the Settlement Agreement

   between the United States and Global Express, $21,826.44 of the funds seized from RB Acct. #

   6119 is to be released to Global Express, or its authorized representative, in full and complete

   satisfaction of Global Express’ claim. See “Settlement and Hold Harmless Agreement Regarding

   Petition of Global Express Money Order, Inc.,” filed on December 5, 2012, at DE # 1101.

           14.    Pursuant to the terms of the two settlement agreements, the remainder of the seized

   funds is to be forfeited to the United States.

           15.    Pursuant to Title 21, United States Code, Section 853(n)(7) and Fed. R. Crim. P.

   32.2(c)(2), the United States has requested that the Court enter a Final Order of Forfeiture to

   amend the Aryan Preliminary Order of Forfeiture consistent with the terms of the two settlement

   agreements filed herein.

           ACCORDINGLY, pursuant to Title 21, United States Code, Section 853(n)(7) and Fed.

   R. Crim. P. 32.2(c)(2), and for good cause shown, it is hereby:

           ORDERED AND ADJUDGED as follows:

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               (A)        The petition of Pharmacy One, Inc., filed on August 7, 2012 (DE # 886), is

   hereby DENIED as moot.

               (B)        The Settlement Agreement Regarding Petition of AmerisourceBergen Drug

   Corporation (DE # 936), between the United States and AmerisourceBergen, is hereby approved,

   adopted and incorporated herein by reference.

               (C)        The Settlement and Hold Harmless Agreement Regarding Petition of

   Global Express Money Order, Inc. (DE # 870, between the Unites States and Global Express, is

   hereby approved, adopted and incorporated herein by reference.

               (D)        Pursuant to the terms of the Settlement Agreement between the United

   States and AmerisourceBergen, the United States shall release to AmerisourceBergen Drug

   Corporation, or its authorized representative, as soon as practicable, $400,000.00 (U.S.) of the

   funds seized from WFB Acct. # 6042, in full and complete satisfaction of AmerisourceBergen’s

   petition filed and claim asserted herein.

               (E)        Pursuant to the terms of the Settlement Agreement between the United

   States and Global Express, the United States shall release to Global Express Money Orders, Inc.,

   or its authorized representative, as soon as practicable, $21,826.44 (U.S.) of the funds seized from

   RB Acct. # 6119, in full and complete satisfaction of Global Express’ petition filed and claim

   asserted herein.

               (F)        All right, title, claim and interest in the remaining funds, as noted below, are

   condemned, forfeited to and clear title vested in the United States of America:

                  (i)     $129,070.50 in United States currency seized from Account No. -3994

                          at Regions Bank, held in the name of RDS Pharmacy Management,

                          Inc.;

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                  (ii)    the remaining funds, in the amount of $159,269.03 in United States

                          currency, seized from Account No. -6119 at Regions Bank, held in the

                          name of Izz and Sons;

                  (iii)   $102,445.83 in United States currency seized from Account No. -0837

                          at Wells Fargo Bank, held in the name of Izz and Sons, Inc., dba

                          Robert’s Drug Store; and

                  (iv)    the remaining funds, in the amount of $1,067,285.71 in United States

                          currency, seized from Account No. -6042 at Wells Fargo Bank, held in

                          the name of Pharmacy One, Inc., dba Robert’s Drug Store #3.

               (G)        Except as noted in the Settlement Agreement between the United States and

   Global Express, each party shall bear its own costs, expenses and attorneys’ fees incurred in

   connection with this action.

               (H)        The Court hereby retains jurisdiction to enforce the terms and conditions of

   the two settlement agreements.

          It is further ORDERED that the United States Marshals Service, the Drug Enforcement

   Administration, or any other duly authorized law enforcement official, shall dispose of the

   forfeited property in accordance with the law.

          DONE AND ORDERED in Chamber, at Miami, Miami-Dade County, Florida, on

   December 19, 2012.




                                                ROBERT N. SCOLA, JR.
                                                UNITED STATES DISTRICT JUDGE



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